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DAVIS POLK & WARDWELL LLP
450 Lexington Avenue
New York, New York 10017
Telephone: (212) 450-4000
Facsimile: (212) 701-5800
Marshall S. Huebner
Benjamin S. Kaminetzky
Timothy Graulich
Eli J. Vonnegut

Proposed Counsel to the Debtors
and Debtors in Possession

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

In re:                                                          Chapter 11

PURDUE PHARMA L.P., et al.,                                     Case No. 19-23649 (RDD)

                 Debtors.1                                      (Jointly Administered)


          NOTICE OF FILING OF TERM SHEET WITH AD HOC COMMITTEE

         PLEASE TAKE NOTICE that on September 15, 2019 (the “Petition Date”),

Purdue Pharma L.P. and certain of its affiliates, as debtors and debtors in possession

(collectively, the “Debtors”), each filed a voluntary petition for relief under chapter 11 of title 11

of the United States Code (the “Bankruptcy Code”) in the United States Bankruptcy Court for

the Southern District of New York (the “Bankruptcy Court”).




1
  The Debtors in these cases, along with the last four digits of each Debtor’s registration number in the applicable
jurisdiction, are as follows: Purdue Pharma L.P. (7484), Purdue Pharma Inc. (7486), Purdue Transdermal
Technologies L.P. (1868), Purdue Pharma Manufacturing L.P. (3821), Purdue Pharmaceuticals L.P. (0034),
Imbrium Therapeutics L.P. (8810), Adlon Therapeutics L.P. (6745), Greenfield BioVentures L.P. (6150), Seven
Seas Hill Corp. (4591), Ophir Green Corp. (4594), Purdue Pharma of Puerto Rico (3925), Avrio Health L.P. (4140),
Purdue Pharmaceutical Products L.P. (3902), Purdue Neuroscience Company (4712), Nayatt Cove Lifescience Inc.
(7805), Button Land L.P. (7502), Rhodes Associates L.P. (N/A), Paul Land Inc. (7425), Quidnick Land L.P. (7584),
Rhodes Pharmaceuticals L.P. (6166), Rhodes Technologies (7143), UDF LP (0495), SVC Pharma LP (5717) and
SVC Pharma Inc. (4014). The Debtors’ corporate headquarters is located at One Stamford Forum, 201 Tresser
Boulevard, Stamford, CT 06901.
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         PLEASE TAKE FURTHER NOTICE that the Debtors hereby file the settlement term

sheet, attached hereto as Exhibit A (the “Term Sheet”),2 by and among the Debtors, the Ad Hoc

Committee and the Shareholder Parties.

         PLEASE TAKE FURTHER NOTICE that copies of the Term Sheet may be obtained

free     of     charge      by     visiting     the        website    of     Prime      Clerk      LLC       at

https://restructuring.primeclerk.com/purduepharma.              You may also obtain copies of any

pleadings by visiting the Bankruptcy Court’s website at http://www.nysb.uscourts.gov in

accordance with the procedures and fees set forth therein.


Dated:    October 8, 2019
          New York, New York

                                                   DAVIS POLK & WARDWELL LLP

                                                   By: /s/ Timothy Graulich

                                                   450 Lexington Avenue
                                                   New York, New York 10017
                                                   Telephone: (212) 450-4000
                                                   Facsimile: (212) 701-5800
                                                   Marshall S. Huebner
                                                   Benjamin S. Kaminetzky
                                                   Timothy Graulich
                                                   Eli J. Vonnegut

                                                   Proposed Counsel to the Debtors
                                                   and Debtors in Possession




2
 Unless otherwise defined herein, each capitalized term shall have the meaning ascribed to such term in the Term
Sheet.



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                                     Exhibit A

                                    Term Sheet
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                                          SUMMARY TERM SHEET
This Summary Term Sheet summarizes the salient terms of a proposed comprehensive settlement of the
claims relating to the opioid business of Purdue Pharma L.P. and its subsidiaries (collectively, “Purdue”
or the “Debtors”). The ad hoc committee of consenting claimants (the “Ad Hoc Committee”) consists
of certain members, including the MDL Plaintiffs’ Executive Committee, representative States,
Municipalities and others. The Debtors and the Ad Hoc Committee recognize that there may be other
important stakeholders that will have a meaningful participation in the chapter 11 cases, and the Debtors
and the Ad Hoc Committee will work together and with such other stakeholders, as applicable, in good
faith to negotiate, draft and finalize definitive documents in furtherance of the proposed settlement set
forth herein (the “Settlement”).

        1.        No later than 14 days following the finalization of this Summary Term Sheet (or such
                  earlier date as required to have the motion heard at the earlier of the hearing scheduled
                  for November 19, 2019 or any earlier hearing scheduled), the Debtors shall file and
                  thereafter pursue a motion in a form reasonably acceptable to the Ad Hoc Committee
                  with the Bankruptcy Court to (i) assume the pre-petition reimbursement agreement with
                  the Ad Hoc Committee and (ii) pay, on a monthly basis, the reasonable and documented
                  expenses (e.g., hotels, meals, travel costs, etc., but excluding the fees and expenses of any
                  professional, including internal counsel, retained or employed by any Ad Hoc Committee
                  member) incurred by the Ad Hoc Committee members in furtherance of their service on
                  the Ad Hoc Committee.

        2.        Pursuant to the chapter 11 plan, 100% of the assets or equity of Purdue – which together
                  with its subsidiaries constitutes 100% of Purdue’s U.S. pharmaceutical business – will be
                  placed under a trust or a similar post-emergence structure, for the benefit of claimants
                  and the U.S. public (the “Trust”). 1 The company (“NewCo”) and the Trust will be run
                  by independent directors or trustees disclosed to the Bankruptcy Court and selected by
                  creditors or their representatives (subject to reasonable approval by the Ad Hoc
                  Committee) pursuant to a process reasonably acceptable to the Ad Hoc Committee and
                  the Debtors. The Trust will own NewCo.

        3.        The corporate charter of NewCo will (i) require it to deploy its assets to address the
                  opioid crisis through the provision of cash payments, the contribution of doses of
                  overdose reversal medications or through other means chosen by the directors and
                  trustees, (ii) obligate it to periodically evaluate the optimum methods of fulfilling its
                  obligations, including a strategic winddown or liquidation, and (iii) be approved by the
                  Ad Hoc Committee and the Debtors, approval of which shall not be unreasonably
                  withheld, provided that Purdue and Shareholder Parties will have no role, control or
                  consent/approval rights in NewCo from and after the Effective Date (as defined below).
                  Both the charter of NewCo and the Trust governance documents will require the directors
                  and trustees to periodically consider, inter alia, a strategic winddown of the entirety of
                  NewCo or the monetization of its various asset classes.

        4.        The Shareholder Parties (defined below) will have no role in the appointment of the
                  persons overseeing the Trust, the board members of NewCo, or the operations of either
                  entity, and the Shareholder Parties will release, and will receive no recovery under the

1
    For the avoidance of doubt, the contribution of Purdue includes all property, interests and assets of the Debtors
    and their estates as such terms are understood and defined under the Bankruptcy Code, including, without
    limitation: (i) all cash on their balance sheets; (ii) insurance policies and proceeds therefrom, and (iii) all other
    estate assets including causes of action belonging to the Debtors or their estates.

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                  chapter 11 plan on account of, any equity interests in, or claims that have been or may be
                  asserted against, any of the Debtors or any of their successors (including on account of
                  any legacy liabilities, unpaid rent, or outstanding debts otherwise owed to the
                  Shareholder Parties). There shall be no payments made by the Debtors to or for the
                  benefit of the Shareholder Parties (including the IACs and any affiliates) during the
                  pendency of the chapter 11 cases, other than in the ordinary course of business pursuant
                  to contracts validated by the Special Committee, and, if outside the ordinary course of
                  business, approved by the Special Committee and the Bankruptcy Court. The Ad Hoc
                  Committee reserves the right to contest any of these transactions or payments. Each of
                  the Shareholder Parties will consent to the jurisdiction of the Bankruptcy Court solely for
                  the enforcement of any parties’ rights, if any, under (i) the Stay Order, (ii) this Summary
                  Term Sheet, or (iii) any definitive documents (including any restructuring support
                  agreement or chapter 11 plan), and for no other purpose.

         5.       Pursuant to the chapter 11 plan, NewCo and the Trust will have no liability for any
                  claims or causes of action that have been or could have been asserted against the Debtors
                  (including but not limited to claims based on successor liability), and all assets or equity
                  interests will be transferred to NewCo “free and clear.” In addition, the chapter 11 plan
                  will also include releases and exculpations, consistent with applicable law, with respect to
                  Purdue’s restructuring and chapter 11 cases, including (i) releases and discharges of the
                  Debtors and their related parties from all claims and causes of action of any nature and
                  (ii) exculpations of the Debtors and their related parties with respect to all acts or
                  omissions arising in connection with the chapter 11 cases.

         6.       In exchange for comprehensive releases in the form and manner to be agreed upon by the
                  parties and set forth in, inter alia, the chapter 11 plan and related confirmation order,
                  from each of (i) the Debtors and their estates, (ii) NewCo and (iii) all claimants, the
                  existing shareholders, including trusts, beneficiaries, companies, affiliates, family
                  members and any similar related parties (together, the “Shareholder Parties”) will make
                  or cause to be made the Consenting Shareholder Cash Contribution (defined below),
                  subject to appropriate security interests in and negative pledges relating to the IACs
                  (defined below), tolling agreements, and appropriate protections to preserve the value of
                  the IACs pending sale, to be negotiated with creditor representatives including the Ad
                  Hoc Committee, on the terms set forth on Exhibit A.2 Releases provided to any releasee
                  will sunset and become null and void in the event that such releasee defaults in its
                  obligation to make any payments under its allocated portion of the Consenting
                  Shareholder Cash Contribution.3 It shall be a condition precedent to agreement on the
                  definitive documents that the Ad Hoc Committee, the Debtors, and Shareholder Parties,
                  each in their discretion, shall have agreed upon the allocation among payors of the
                  Consenting Shareholder Cash Contribution, which shall be based on further diligence
                  reasonably acceptable to the Ad Hoc Committee and tied to assurances of the ability of
                  the Shareholder Parties to satisfy the Guaranteed Contribution in full when due, taking
                  into account the results of diligence regarding the IACs. A list of identifiable releasees


2
  For the avoidance of doubt, the releases in favor of the Shareholder Parties to be set forth in the chapter 11 plan
will not include liabilities owed by them to governmental units that are not related to Purdue and/or opioid/litigation
liability, such as individual taxes or other unrelated categories of liabilities.
3
  Shareholder Parties who are subject to voidable releases will agree to toll all statutes of limitations, repose, or
otherwise, until the Consenting Shareholder Cash Contribution of such releasee is paid in full in accordance with the
terms set forth on Exhibit A and the definitive documents.
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               will be provided by the Shareholder Parties to the Debtors and the Ad Hoc Committee
               and updated as appropriate.

      7.       Prior to the effective date of a chapter 11 plan (the “Effective Date”), the Debtors, with
               Bankruptcy Court approval and after consultation with the Creditors’ Committee and the
               Ad Hoc Committee, may settle claims and coverage disputes with any of Purdue’s
               insurers. Following the Effective Date, NewCo and/or the Trust, as applicable, will have
               all rights with respect to the insurance, including, without limitation, the authority to
               assert, pursue and settle such claims and coverage disputes with Purdue’s insurers.

      8.       All distributable cash (including, without limitation, the Consenting Shareholder Cash
               Contribution, the company’s excess cash, and insurance proceeds) will be distributed
               through a chapter 11 plan on terms and conditions, and in accordance with a formula
               consistent with applicable law and acceptable to the Debtors and the Ad Hoc Committee,
               provided, however, that the Shareholder Parties must also be reasonably satisfied that the
               allocation of consideration under the plan is consistent with the requirements of the
               Bankruptcy Code and applicable bankruptcy law. Any sales proceeds from any post-
               bankruptcy sale of NewCo or its assets will be distributed pursuant to this same agreed-to
               formulation.

      9.       The Debtors and NewCo will be bound by, and the Shareholder Parties will not oppose
               and will not take any action to frustrate, injunctive relief reasonably acceptable to the Ad
               Hoc Committee, including marketing restrictions, both during the chapter 11 cases and
               thereafter, with respect to the Debtors’ opioid business-related activities.

      10.      As a condition to the Settlement, Purdue, the Shareholder Parties, and their respective
               related parties shall have resolved with the U.S. Department of Justice on terms
               satisfactory to them and approved by the Bankruptcy Court on appropriate notice, all
               potential federal liability arising from or related to opioid-related activities. If the
               economic terms of any such resolution are materially inconsistent with this Settlement or
               otherwise materially adverse to the Debtors, the Ad Hoc Committee shall have the right,
               within 30 days thereof, to terminate the Settlement.

      11.      Each consenting creditor, including without limitation each member of the Ad Hoc
               Committee, will (i) affirmatively undertake efforts to adjourn, sever, suspend or
               otherwise stay any of their own respective actions against Purdue, the Shareholder
               Parties, and their respective related parties related to Purdue’s opioid business; and
               (ii) either affirmatively support, or not oppose, object to, delay, impede, or take any other
               action to interfere with, efforts to stay all pending litigation against Purdue, the
               Shareholder Parties, and their respective related parties related to Purdue’s opioid
               business, in each case for the Initial Stay Period (as defined below). The Ad Hoc
               Committee will affirmatively support a request by the Debtors to stay all pending
               litigation against Purdue, the Shareholder Parties, and their respective related parties
               related to Purdue’s opioid business for an initial period of 180 days (the “Initial Stay
               Period”) from the date of entry by the Bankruptcy Court (the “Stay Date”) of an order
               approving the stay (the “Stay Order”), to facilitate the orderly and efficient
               implementation of the terms of this Summary Term Sheet. The Debtors and the
               Shareholder Parties will negotiate, complete and, if agreed to, execute a restructuring
               support agreement with the Ad Hoc Committee within 120 days of the earlier of the Stay
               Date or, if the Stay Date is later than October 15, 2019, October 15, 2019, and the
               Debtors will move for approval of the restructuring support agreement at a hearing to be
               held as promptly as practicable following the expiration of the Initial Stay Period. The
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               Ad Hoc Committee may move the Bankruptcy Court to terminate the Initial Stay Period
               if a restructuring support agreement has not been executed by the Debtors, the Ad Hoc
               Committee, its members, and the Shareholder Parties within 120 days of the Stay Date, it
               being expressly understood that the Debtors’ execution thereof shall be subject to
               Bankruptcy Court approval that shall not be obtained, absent the consent of the Creditors’
               Committee, prior to the date that is 180 days from the Stay Date. Among other things,
               the restructuring support agreement will provide for appropriate termination events, and
               for an appropriate “fiduciary out” for the Debtors acceptable to the Debtors and the Ad
               Hoc Committee. An order of the Bankruptcy Court shall provide for the restrictions set
               forth on Exhibit C, which shall apply during the Initial Stay Period and any extension
               thereof (the “Stay Period”).

      12.      The Shareholder Parties will promptly provide the Ad Hoc Committee and the Debtors
               with a list and description of all IACs. During negotiations of a restructuring support
               agreement and the definitive documents, the Debtors and/or the Shareholder Parties, as
               applicable, shall promptly and on a rolling basis provide the Ad Hoc Committee and its
               professionals with information and documents, including the categories of information
               and documents set forth on Exhibit B, reasonably requested and necessary to perform due
               diligence regarding the terms of this Settlement and any chapter 11 plan premised upon
               this Settlement. All diligence in this paragraph is referred to herein as “Diligence”. If
               the Ad Hoc Committee reasonably believes that the Shareholder Parties are not
               reasonably working in good faith to provide the Diligence promptly and on a rolling
               basis, subject to written notice and a ten day cure period, the Ad Hoc Committee shall
               have the right to move the Bankruptcy Court to terminate the Stay Period.

      13.      The Debtors’ agreement to provide any Diligence to the Ad Hoc Committee pursuant to
               the terms hereof does not extend to information that otherwise could not be obtained in
               connection with discovery by the Ad Hoc Committee under applicable bankruptcy or
               federal laws or rules, including Bankruptcy Rule 2004. Nothing herein shall constitute a
               waiver of the attorney-client privilege by the Debtors. As to matters where there is a
               basis for information sharing without a waiver of privilege, the Debtors agree to work
               with the Ad Hoc Committee to explore mechanisms that will ensure that any information
               or documents shared by the Debtors will remain confidential and privileged.

      14.      The restructuring support agreement will provide for appropriate consultation and
               consent rights, including with respect to the definitive documents necessary to effectuate
               this Settlement, for the Ad Hoc Committee (and any other creditor representative
               signatory to the restructuring support agreement) to be agreed. All definitive documents
               relating to the Settlement shall be on terms acceptable to the Ad Hoc Committee, the
               Debtors and, except as otherwise expressly provided herein, the Shareholder Parties.
               Among other things, the parties will enter into a mutually agreeable tax protocol, and will
               seek to maximize tax efficiencies when drafting definitive documentation. The forms of
               governmental proofs of claim and related documents with respect to the bar date shall be
               reasonably acceptable to the Ad Hoc Committee.

      15.      Within 270 days of the earlier of the Stay Date or, if the Stay Date is later than October
               15, 2019, October 15, 2019, the parties will negotiate the terms of a chapter 11 plan and
               disclosure statement and, in the event agreement is reached on all material terms, the
               Debtors will file a chapter 11 plan and disclosure statement, together with an agreed upon
               schedule for confirmation.


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      16.      The definitive documents will provide that no State or other governmental entity that is
               not an initially consenting party with respect to the Settlement will receive a distribution
               or other benefit under the Debtors’ chapter 11 plan that is not provided on an equivalent
               or pro rata basis to initially consenting parties.

      17.      Purdue’s obligations hereunder shall terminate on written notice to the Ad Hoc
               Committee if Purdue determines, in its sole discretion (and in keeping with its fiduciary
               duties, including the duties of the members of its Special Committee), that the Settlement
               is no longer in its best interests, provided, that prior to terminating its obligations
               hereunder, Purdue shall provide proposed amendments or alternatives to the Settlement to
               the Ad Hoc Committee and shall provide the Ad Hoc Committee with a reasonable
               period to determine whether to incorporate such amendments into the Settlement or to
               proceed consensually with any such alternatives. The Debtors represent that, as of the
               date of hereof, they believe that reaching agreement on and finalizing this Settlement
               Term Sheet is consistent with their fiduciary duties.

      18.      For the avoidance of doubt, all dates set forth herein may be amended with the consent of
               the Debtors, the Ad Hoc Committee, and the Shareholder Parties.




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                                                          Exhibit A

                                      Consenting Shareholder Cash Contribution

 Shareholder Cash                   The Shareholder Parties will contribute $3 billion (the “Guaranteed
 Contribution                       Contribution”) to NewCo or such other designated vehicle over a period no
                                    longer than seven years from the Effective Date.

                                    The Shareholder Parties will make the Guaranteed Contribution in the
                                    following minimum annual amounts:

                                          1. Year 1 (to be paid on one or more dates in Year 1 to be agreed by
                                             the Debtors, the Shareholder Parties and the Ad Hoc Committee
                                             based on timing of initial asset sales): $500 million;
                                          2. Years 2–6: $300 million per year; and
                                          3. Year 7: $1 billion4

                                    The Shareholder Parties will engage in a sale process for their Ex-U.S.
                                    pharmaceutical companies (collectively, the “IACs”). A list of all IACs will
                                    be promptly provided to the Ad Hoc Committee, and the Shareholder Parties
                                    shall represent that the list of IACs is an accurate and complete list of all Ex-
                                    U.S. pharmaceutical entities, related businesses, joint ventures, or other
                                    holdings directly or indirectly owned or controlled by any Shareholder Party,
                                    and that are included in the financial information provided in the investment
                                    banker presentation made available to certain of the settling parties’ financial
                                    experts (the “IB Presentation”). It is understood and agreed by the parties
                                    that further Diligence and agreement is required with respect to any entities
                                    that are controlled, actively managed, or 20% or more owned, by Shareholder
                                    Parties consisting both of the descendants of Raymond Sackler and of
                                    Mortimer Sackler and engaged in the pharmaceutical business but not included
                                    in the IB Presentation, including whether any of such entities shall be included
                                    as IACs under the Settlement. The Shareholder Parties will provide
                                    representations and enforceable covenants acceptable to the Ad Hoc
                                    Committee and the Shareholder Parties to ensure that subsequent to the
                                    disposition of the IACs, the Shareholder Parties will no longer be engaged in
                                    the opioid business, and if necessary, diligence on specific investments raised
                                    by the Ad Hoc Committee, with such enforceable covenants to be set forth in
                                    the confirmation order for the chapter 11 plan, such covenants to be
                                    specifically enforceable through injunctive relief.

                                    The first use of Net Proceeds (defined below) from one or more equity or asset
                                    sales of an IAC (an “Ex-U.S. Sale”) during this seven-year period, will be to
                                    fulfill the Guaranteed Contribution. Any such accelerated contributions will
                                    be applied and deemed to satisfy (on a dollar for dollar basis and in whole or
                                    part as applicable) the next due installment or installments of the Guaranteed
                                    Contribution. The Shareholder Parties (i) will provide the Ad Hoc Committee
                                    and the Debtors with financial information (including current audited financial
                                    statements for each IAC) as reasonably requested and available for the IACs
                                    prior to the execution of the restructuring support agreement, and (ii) will

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    Amounts payable in years two through seven shall be payable on dates to be agreed.
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                         provide access to books and records of the IACs to permit the Ad Hoc
                         Committee and the Debtors to document and monitor the Ex-U.S. Sales and
                         Guaranteed Contribution on terms and conditions to be agreed upon and set
                         forth in the definitive documentation.

                         In addition to the Guaranteed Contribution, the Shareholder Parties will
                         contribute (i) 90% of any Net Proceeds in excess of $3 billion until the
                         Shareholder Parties have contributed an additional $1.5 billion plus (ii) 50%
                         of any Net Proceeds realized from any Ex-U.S. Sale thereafter (such amounts,
                         together with the Guaranteed Contributions, the “Consenting Shareholder
                         Cash Contribution”).

                         The Shareholder Parties will provide quarterly reports regarding the progress
                         of any Ex-U.S. Sale to the Debtors and the Ad Hoc Committee during the
                         chapter 11 cases and to the Trust or its successor or designee following the
                         Effective Date. The parties will agree to additional financial disclosures,
                         reporting mechanisms, oversight, and covenants with respect to the IACs in
                         connection with the definitive documentation, with appropriate protections to
                         be agreed to preserve and maximize the value of IACs pending the Ex-U.S.
                         Sale.

                         The payment of the Consenting Shareholder Cash Contribution will be secured
                         by appropriate security interests in and negative pledges relating to, as well as
                         informational and consultation rights with respect to, the IACs reasonably
                         acceptable to the Ad Hoc Committee.

                         In accordance with to be agreed-upon terms and timing mechanisms,
                         the IACs will not retain excess cash and will, no less than annually and
                         periodically on intervals to be agreed, distribute excess cash only for, and in
                         the following order of priority: (i) first, the taxes generated by the income or
                         sale of (including any required presale restructurings of) the IACs and Purdue,
                         and for the legal and other expenses incurred by the shareholders in connection
                         with the restructuring and the Ex-U.S. Sales, (ii) second, to repay to the
                         owners any amount of the Consenting Shareholder Cash Contribution
                         advanced from sources other than such distributions and the proceeds from
                         any Ex-U.S. Sale, and (iii) third, (a) the Consenting Shareholder Cash
                         Contribution and (b) any amount to be distributed to the owners alongside the
                         Consenting Shareholder Cash Contribution (i.e., 10% of Net Proceeds after $3
                         billion and 50% of Net Proceeds after the Shareholder Parties have contributed
                         an additional $1.5 billion). Any distributions and the gross proceeds from any
                         Ex-U.S. Sale minus the amounts described in clause (i) of the immediately
                         preceding sentence shall constitute “Net Proceeds”.

                         Determination of what constitutes excess cash of the IACs will, at all times
                         prior to an Ex-U.S. Sale of the IACs, be made in accordance with terms to be
                         agreed with the Ad Hoc Committee, the Debtors, and the Shareholder Parties.

                         Promptly following the date of finalization of this Summary Term Sheet, the
                         protections requested by and reasonably acceptable to the Debtors, the Ad Hoc
                         Committee, and the Shareholder Parties will be agreed to preserve the value of
                         IACs, including any excess cash of the IACs generated or proceeds of any Ex-
                         U.S. Sale received prior to the Effective Date.
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                                                Exhibit B

                                            Initial Diligence

The following shall be provided initially on a Professionals’ Eyes Only (“PEO”) basis, with further
dissemination of diligence to be agreed through the negotiation of a confidentiality agreement among the
parties, and subject to court-ordered confidentiality, it being expressly agreed and understood that the
parties shall negotiate in good faith as to which Diligence items remain PEO:

   1. Any final report(s) prepared for or by the Special Committee of the board of directors regarding
      transactions between the Debtors and the Shareholder Parties (and/or their respective affiliates).

   2. IAC presentation materials, including the IB Presentation, historical financial results, accounting
      of excess cash for 2019, current projections, business plans and valuations, on an entity level
      basis where available, and other customary financial, operational, and legal diligence reasonably
      requested by the Ad Hoc Committee.

   3. Updated financials for the Debtors and each of the IACs.

   4. Business plan and forecasts for the Debtors as well as detailed historical financial information
      and/or valuations of the Debtors and other customary financial, operational, and legal diligence
      reasonably requested by the Ad Hoc Committee.

   5. Reasonable access by the professionals to the Ad Hoc Committee to members of the Debtors’ and
      the IAC’s management teams to answer questions and elaborate on Diligence items 2-4.

   6. Tax information necessary to determine the tax liability set forth in the clause (i) referenced in the
      definition of Net Proceeds on Exhibit A.

   7. Quarterly reports listing the material legal and other fees and expenses incurred by the
      Shareholder Parties in connection with the chapter 11 cases and the Ex-U.S. Sales.

   8. Information necessary to assess the reasonableness of any proposed allocation among payors of
      the Consenting Shareholder Cash Contribution, and to determine the assurances that are
      necessary regarding the ability of the Shareholder Parties to satisfy the Guaranteed Contribution
      in full when due, taking into account the results of diligence regarding the IACs.

   9. A list of all contracts validated by the Special Committee providing for any payments by the
      Debtors to the Shareholder Parties during the chapter 11 cases, and reasonable prior notice
      regarding any payments approved by the Special Committee to the Shareholder Parties outside
      the ordinary course of business.




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                                               Exhibit C

   (a) For purposes of this Order, “Covered Sackler Person” shall mean: Beverly Sackler, David A.
       Sackler, Ilene Sackler, Jonathan D. Sackler, Kathe Sackler, Mortimer D.A. Sackler, Richard S.
       Sackler, Theresa Sackler, any trusts of which any of the foregoing are beneficiaries, and the
       trustees thereof (solely in their capacities as such). The Shareholder Parties represent that the
       Covered Sackler Persons own, directly or indirectly, each of the IACs.

   (b) While the injunction hereunder in respect of Related-Party Claims is in effect, no Covered
       Sackler Person shall take any action with respect to any material amount of his, her, or its
       property that is located inside or outside the United States with the intent or material effect of
       frustrating enforcement of any potential judgment of this Court in these cases or any other actions
       pending against them.

   (c) Solely to the extent necessary to enforce the foregoing, each Covered Sackler Person consents to
       the jurisdiction of this Court in respect of the foregoing.




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